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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                            :            CASE NO. 19-62423-LRC
                                                  :
BU YONG KIM,                                      :            CHAPTER 7
                                                  :
         Debtor.                                  :
                                                  :
                                                  :
WILLIAM J. LAYNG, JR.,                            :
Chapter 7 Trustee for the Estate of               :
Bu Yong Kim,                                      :
                                                  :
         Plaintiff,                               :
                                                  :
vs.                                               :            ADV. PRO. NO. 20-06024-LRC
                                                  :
UNITED WHOLESALE MORTGAGE and                     :
NATIONSTAR MORTGAGE, LLC d/b/a                    :
MR. COOPER,                                       :
                                                  :
         Defendants.                              :
                                                  :

                                  CERTIFICATE OF SERVICE
         I, Michael J. Bargar, certify that I am, and at all times during the service of process was,

not less than 18 years of age and not a party to the matter concerning which service of process

was made. I further certify that the service was made on February 5, 2020 of the Summons [Doc.

No. 2] issued on February 4, 2020, and a copy of the Complaint [Doc. No. 1] filed on February

3, 2020, by first class mail and or certified mail as indicated, postage fully pre-paid, and

addressed to:

Via First Class Mail and Certified Mail:               Via First Class Mail

Mat Ishbia, President and CEO                          United Wholesale Mortgage
United Wholesale Mortgage                              c/o Jeffrey A. Ishbia, it’s Registered Agent
585 S. Boulevard E                                     251 Merrill Street, 2nd Floor
Pontiac, MI 48341                                      Birmingham, MI 48009



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Via First Class Mail and Certified Mail:              Via First Class Mail

Jay Bray, President and CEO                           Nationstar Mortgage LLC d/b/a Mr. Cooper
Nationstar Mortgage, LLC d/b/a Mr. Cooper             c/o Lisa F. Caplan, Esq.
8950 Cypress Waters Boulevard                         Rubin Lublin, LLC
Dallas, TX 75019                                      3145 Avalon Ridge Place, Suite 100
                                                      Peachtree Corners, GA 30071
Via First Class Mail:

Nationstar Mortgage LLC d/b/a Mr. Cooper
c/o Corporation Service Company, its
Registered Agent
 40 Technology Parkway South, Suite 300
Norcross, GA 30092


             Under penalty of perjury, I declare that the foregoing is true and correct.

        This 5th day of February, 2020.
                                                      ARNALL GOLDEN GREGORY LLP
                                                      Attorneys for Chapter 7 Trustee

                                                      By: /s/ Michael J. Bargar
                                                         Michael J. Bargar
                                                         GA. Bar No. 645709
                                                      171 17th Street NW, Suite 2100
                                                      Atlanta, Georgia 30363-1031
                                                      (404) 873-8500
                                                      michael.bargar@agg.com




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